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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     BRIAN WHITAKER,                                        Case No. 21-cv-03750-JSC
                                                           Plaintiff,
                                   8
                                                                                                ORDER RE: EVIDENTIARY
                                                    v.                                          HEARING
                                   9

                                  10     SLAINTE BARS LLC,
                                                           Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             The Court is holding an evidentiary hearing on February 7, 2022 at 9:30 a.m. to resolve

                                  14   Defendant’s factual challenge to Plaintiff’s Article III standing to pursue his Americans with

                                  15   Disabilities Act claim. In advance the hearing, the parties shall do the following.

                                  16             First, on or before February 2, 2022, each Party shall file his or its witness list on the

                                  17   docket.

                                  18             Second, on or before February 2, 2022, each party shall file his or its exhibit list on the

                                  19   docket and provide the opposing party with a copy of each exhibit on the list.

                                  20             Three, on or before 5:00 p.m. on February 3, 2022, each party shall file his or its objections

                                  21   to any exhibits. The objections shall set forth in detail the basis for the objection.

                                  22             Fourth, on or before noon on February 4, 2022, the parties shall provide their intended

                                  23   hearing exhibits to the Court by uploading them to a secure cloud site and providing the Court

                                  24   with instructions regarding accessing the same via email to JSCsettlement@cand.uscourts.gov.

                                  25             IT IS SO ORDERED.

                                  26   Dated: January 27, 2022

                                  27
                                                                                                        JACQUELINE SCOTT CORLEY
                                  28                                                                    United States Magistrate Judge
